
PER CURIAM.
Affirmed. See State v. Wise, 24 Fla. L. Weekly D657, — So.2d -, 1999 WL 123568 (Fla. 4th DCA Mar.10, 1999). We acknowledge and certify conflict with McKnight v. State, 727 So.2d 314 (Fla. 3d DCA 1999); Woods v. State, 24 Fla. L. Weekly D831, 740 So.2d 20 (Fla. 1st DCA 1999); and Speed v. State, 24 Fla. L. Weekly D1017, 732 So.2d 17 (Fla. 5th DCA 1999).
DELL, GUNTHER and HAZOURI, JJ., concur.
